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                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF LOUISIANA
                              SHREVEPORT DIVISION


 UNITED STATES OF AMERICA                          CRIMINAL ACTION NO. 04-50134-03

 VERSUS                                            JUDGE S. MAURICE HICKS, JR

 RICHARD RANDALE JACKSON                           MAGISTRATE JUDGE HORNSBY


                                 MEMORANDUM ORDER

        Before the Court is a Motion for Grand Jury Transcripts filed pro se by the defendant,

 Richard Randale Jackson (“Jackson”). See Record Document 216. In the motion, Jackson

 requests a copy of the grand jury transcripts pursuant to Federal Rule of Criminal

 Procedure 6(e)(3)(E)(ii), which states:

        The court may authorize disclosure – at a time, in a manner, and subject to
        any other conditions that it directs – of a grand-jury matter:

               (ii)   at the request of a defendant who shows that a ground may
                      exist to dismiss the indictment because of a matter that
                      occurred before the grand jury.

 F.R.Cr.P. 6(e)(3)(E)(ii). Specifically, Jackson maintains that he “is seeking the grand jury

 transcripts because he is innocent of the crimes charged in the indictment and he infers

 that because of his innocence there must be statements and information which was

 submitted to the grand jury that was false.” Record Document 216 at 2 (emphasis added).

 In the motion, Jackson also states that he is preparing to file a motion to vacate, correct,

 or set aside sentence pursuant to 28 U.S.C. § 2255, which is apparent because many of

 the allegations in the instant motion are more properly asserted in a Section 2255 motion.

 See id. at 2-3.

        The Fifth Circuit has stated that “the proper functioning of the grand jury system
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 depends upon the secrecy of the grand jury proceedings.” U.S. v. Miramontez, 995 F.2d

 56, 59 (5th Cir. 1993), citing Douglas Oil Co. v. Petrol Stops Northwest, 441 U.S. 211,

 218S.Ct. 1667, 1692 (1956).        Jackson bears the burden of demonstrating that “a

 particularized need” for the grand jury transcripts “outweighs the policy of secrecy.” Id.

 (citation omitted). Pursuant to this burden, Jackson must establish that : “(1) the material

 he seeks is needed to avoid a possible injustice in another judicial proceeding, (2) the need

 for disclosure is greater than the need for continued secrecy, and (3) his request is

 structured to cover only material so needed.” Id. (citation omitted).

        Here, the Court finds that Jackson has not satisfied the aforementioned conditions

 and, thus, denies his request. It is clear that Jackson has not shown a “particularized

 need” under any of the three elements set forth above. Even construing his pleadings

 liberally due to his pro se status, he has not identified any specific irregularity in the grand

 jury proceedings and has not furnished reasons sufficient to require disclosure of the grand

 jury transcripts. His motion, which relies on contentions, inferences, and intuition, appears

 to be nothing more than a fishing expedition and the bare allegations set forth in the motion

 simply will not suffice to justify disclosure. See U.S. v. Carvajal, 989 F.2d 170 (5th Cir.

 1993) (“[The defendant] cannot now conduct a fishing expedition to see if he can find

 something in the grand jury minutes that might support further relief under § 2255.”).

 Jackson does state “that the grand jury did not know that he was incarcerated when this

 conspiracy was discovered nor did the prosecution inform the grand jury of exculpatory

 evidence against [him] which contradict[s] any involvement in a conspiracy or any other

 drug trafficking crime.” Record Document 216 at 2-3. Such contentions are not the proper

 showing of a “particularized need” as contemplated by the controlling case law; rather,

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 these allegations are better suited for a Section 2255 motion, which Jackson has indicated

 he is preparing to file.

        Accordingly,

        IT IS ORDERED that the Motion for Grand Jury Transcript (Record Document 216)

 be and is hereby DENIED.

        THUS DONE AND SIGNED at Shreveport, Louisiana, this 9th day of July, 2007.




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